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                                   8                                  UNITED STATES DISTRICT COURT
                                   9                                 NORTHERN DISTRICT OF CALIFORNIA
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                                                                              SAN JOSE DIVISION
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                                  12     FEDERAL TRADE COMMISSION,                            Case No. 17-CV-00220-LHK
Northern District of California
 United States District Court




                                  13                    Plaintiff,                            PRETRIAL CONFERENCE ORDER
                                  14             v.

                                  15     QUALCOMM INCORPORATED,
                                  16                    Defendant.

                                  17
                                       Plaintiff’s Attorneys: Robert Van Nest, Eugene Paige, Justina Sessions, Gary Bornstein, Yonatan
                                  18   Even, Brent Byars, Jordan Peterson, and Geoff Holtz
                                  19   Defendant’s Attorneys: Jennifer Milici and Daniel Matheson

                                  20          A pretrial conference was held on December 13, 2018. At the pretrial conference, the
                                       Court made the following rulings on the record:
                                  21
                                              By December 17, 2018, each party shall provide notice to third parties of any third-party
                                  22   confidential information that may be disclosed at trial, so that the third party may seek to seal their
                                  23   information. The parties have already given such notice to third parties regarding trial exhibits.
                                       This December 17, 2018 deadline applies to deposition testimony, trial testimony, and
                                  24   demonstratives.

                                  25           For all joint sealing motions, the parties shall include a chart with a row for each
                                       document, testimony, demonstrative or portion thereof that is sought to be sealed. The chart shall
                                  26   also include five additional columns that describe:
                                  27           1. whose confidential information is to be sealed;
                                                                                          1
                                  28
                                       Case No. 17-CV-00220-LHK
                                       PRETRIAL CONFERENCE ORDER
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                                              2. where the confidential information appears;
                                   1          3. the relevant standard for sealing;
                                   2          4. the number of the paragraph in a specific declaration that justifies the sealing of that
                                                 information under the relevant standard; and
                                   3          5. any explanations.

                                   4            By December 28, 2018, the parties shall reduce their number of exhibits to 400 per side. At
                                       trial, the parties shall be limited to the 126 exhibits currently on the joint exhibit list plus 220
                                   5
                                       exhibits each for a total of 566 exhibits.
                                   6   IT IS SO ORDERED.
                                   7

                                   8   Dated: December 13, 2018
                                   9                                                   ______________________________________
                                  10                                                   LUCY H. KOH
                                                                                       United States District Judge
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Northern District of California
 United States District Court




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                                       Case No. 17-CV-00220-LHK
                                       PRETRIAL CONFERENCE ORDER
